Case 1:23-cv-22364-KMW Document 19 Entered on FLSD Docket 11/22/2023 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 23-22364-CV-WILLIAMS

  LEE AUBERTIN,

                 Petitioner,

  v.                                                 CASE NO. 1:23-cv-22364-KMW

  ELIZABETH MARINO BOBADILLA,

              Respondent.
  ___________________________________/

       PETITIONER’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Petitioner, LEE AUBERTIN, pursuant to Fed. R. Civ. P. 41(a)(1) this Court’s October 4,

  2023 Order [ECF 18] files his Notice of Voluntary Dismissal Without Prejudice of his Petition

  against Respondent, ELIZABETH MARINO BOBADILLA, as the parties have reached

  settlement in this matter.

         Respectfully submitted November 22, 2023.

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                                                                  /s/ Ronald H. Kauffman
                                                            Ronald H. Kauffman, Esq.
                                                            FBN 970743
                                                            Attorneys for Petitioner




                                               1
Case 1:23-cv-22364-KMW Document 19 Entered on FLSD Docket 11/22/2023 Page 2 of 2




                                  CERTIFICATE OF SERVICE

          Pursuant to Fed. R. Civ. P. Rule 5 and Local Rule 5.2(a), I certify that on November 22,
  2023, I electronically filed with the Clerk of the Court using the CM/ECF system which will send
  notification of such filing to all counsel of record.


                                                     /s/Ronald H. Kauffman
                                                     Ronald H. Kauffman, Esq.



                                            Service List

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